      Case 1:05-cr-01849-JCH          Document 1053        Filed 08/06/07     Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                         CR NO. 05-1849-JH

DANA JARVIS, et al.

               Defendants.

                              NOTICE OF NON-AVAILABILITY

       COMES NOW, counsel for Defendant Geno Berthod, Martin Lopez, III, P. C. (Martin

Lopez, III) and states that he will be unavailable in this matter from August 22, 2007 through

August 27, 2007.

                                                            Respectfully submitted,

                                                            MARTIN LOPEZ, III
                                                            A Professional Corporation



                                                            Electronically Filed August 6, 2007
                                                            Martin Lopez, III
                                                            Attorney for Defendant Berthod
                                                            1500 Mountain Rd. NW
                                                            Albuquerque, New Mexico 87104
                                                            Tele: (505) 243-2900
                                                            Fax: (505) 243-6339


I HEREBY CERTIFY that a copy of the
foregoing was forwarded via electronic notice
to Assistant U. S. Attorney James Braun on
this 6th day of August, 2007.


Electronically Filed August 6, 2007
Martin Lopez, III
